                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: Christine M. Griffin                         BK NO. 19-03415 RNO

                                                    Chapter 13
                              Debtor



                 ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

 To the Clerk:

        Kindly enter my appearance on behalf of M&T Bank and index same on the master
 mailing list.



                                                 Respectfully submitted,




                                             /s/ James C. Warmbrodt, Esquire
                                             James C. Warmbrodt, Esquire
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